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 5
 6   Attorneys for Defendant
     TACONIC CAPITAL ADVISORS L.P.
 7
 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
11   RAFAEL ARROYO,                                   CASE NO.
12                Plaintiff,                          DEFENDANT’S NOTICE OF
                                                      INTERESTED PARTIES
13          v.
14   TACONIC CAPITAL ADVISORS L.P., a
     Delaware Limited Liability Company; and
15   Does 1-10,
16                Defendants.
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18
19   TO THE HONORABLE CLERK OF THE UNITED STATES DISTRICT COURT
20   FOR THE CENTRAL DISTRICT OF CALIFORNIA, PLAINTIFF AND HIS
21   ATTORNEY OF RECORD:
22          PLEASE TAKE NOTICE that Defendant TACONIC CAPITAL ADVISORS L.P.
23   (“Defendant” or “Taconic”), erroneously sued as TACONIC CAPITAL ADVISORS L.P.,
24   a Delaware Limited Liability Company, certifies that the following listed parties may have
25   a pecuniary interest in the outcome of this case.
26          These representations are made to enable the Court to evaluate possible
27   disqualification or recusal.
28          1.    Plaintiff RAFAEL ARROYO; and

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     Case No.                                                    NOTICE OF INTERESTED PARTIES
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 1            2.       Defendant TACONIC CAPITAL ADVISORS L.P.
 2            In the event that, during the course of this litigation, Defendant discovers other
 3   persons, associations of persons, firms, partnerships, corporations, affiliates, parent
 4   corporations or other entities that have a financial interest in the outcome of this litigation,
 5   it will file an amended notice.
 6
 7   Dated: January 15, 2021                  JACKSON LEWIS P.C.
 8                                        By:       /s/ Monica H. Bullock
                                                     Robert D. Vogel
 9                                                   Monica H. Bullock
10                                            Attorneys for Defendant
                                              TACONIC CAPITAL ADVISORS L.P.
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     4820-0218-3125, v. 1
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     Case No.                                                      NOTICE OF INTERESTED PARTIES
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 1                                    CERTIFICATE OF SERVICE

 2   UNITED STATES DISTRICT COURT, CENTRAL DISTRICT
 3   CASE NAME:             Arroyo v. Taconic Capital Advisors L.P.
 4          I am employed in the County of Orange, State of California. I am over the age of
     18 and not a party to the within action; my business address is 200 Spectrum Center Drive,
 5   Suite 500, Irvine, CA 92618.
 6       On January 15, 2021, I served the foregoing document(s) described as:
     DEFENDANT’S NOTICE OF INTERESTED PARTIES in this action as follows:
 7
      Raymond Ballister Jr.                             Attorney for Plaintiff
 8    Russell Handy                                     ORLANDO GARCIA
      Amanda Seabock
 9    Zachary Best                                      Telephone: (858) 375-7385
      CENTER FOR DISABILITY ACCESS                      russ@potterhandy.com
10    8033 Linda Vista Road, Suite 200                  amandas@potterhandy.com
      San Diego, CA 92111                               best@corfeestone.com
11
12
13   [XX] BY E-MAIL OR ELECTRONIC TRANSMISSION

14          Based on a Court order or on an agreement by the parties to accept service by e-mail
     or electronic transmission, I caused the document(s) described above to be sent from e-
15   mail address stacy.boura@jacksonlewis.com to the persons at the e-mail address listed
     above. I did not receive, within a reasonable time after the transmission, any electronic
16   message or other indication that the transmission was unsuccessful.

17          [X] FEDERAL I declare that I am employed in the office of a member of the bar
     of this Court at whose direction the service was made.
18
19            Executed on January 15, 2021, at Irvine, California.
20
                                                                 /s/ Stacy Boura
21                                                                  Stacy Boura
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24   4820-0218-3125, v. 1


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     Case No.                                                        NOTICE OF INTERESTED PARTIES
